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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division

 ELEGANTE, LLC,

      Plaintiff,

      v.
                                                           Case No. 2:22-cv-273
 ANGELA R. DE LOS SANTOS,

      Defendant.


                              TRIAL SCHEDULING ORDER

           The following shall govern the trial in the above-styled matter. If any conflict

is perceived between this Order and either the Federal or Local Rules, this Order

shall control. This Order shall also supersede any prior scheduling and pretrial orders

to the extent it addresses subject matter previously addressed by those orders. Any

matters not addressed by this Order shall be governed by the Federal and Local Rules

and any prior scheduling and pretrial orders.

I.            Trial Date

              A two-day jury trial is scheduled to commence at 10:00 a.m. on October
              26, 2023, at the courthouse in Norfolk.

II.           Expert Testimony

              The parties are advised that they may rely upon the testimony of only one
              expert per discipline, except by order of the Court.

              Any motions challenging expert testimony based upon Daubert v. Merrell
              Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and its progeny shall be
              filed not later than 30 calendar days before trial. Any response to such a
              motion shall be filed not later than ten calendar days after the filing of the
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        motion, and any reply shall be filed not later than three calendar days
        thereafter.

III.    Non-Dispositive Motions

        All non-dispositive motions, including all motions in limine shall be filed
        not later than 30 calendar days before trial. The brief in opposition to such
        a non-dispositive motion shall be filed not later than 24 calendar days
        before trial. The reply brief in support of such a non-dispositive motion, if
        any, shall be filed not later than 20 calendar days before trial. The parties
        are referred to the requirements of E.D. Va. Civ. R. 7(E), which are
        incorporated herein by reference.

IV.     Proposed Witnesses

        Each plaintiff shall file a list of proposed witnesses not less than 30
        calendar days before trial, and each defendant shall designate its witnesses
        not later than 25 calendar days before trial. Each plaintiff shall file a list of
        any rebuttal witnesses not later than six calendar days after the
        defendant(s) designate(s) witnesses. Absent exceptional circumstances,
        failure to comply with the provisions of this paragraph shall result in
        preclusion of a witness’s testimony at trial.

V.      Discovery to Be Used as Evidence

        Each plaintiff shall file a designation not less than 30 calendar days before
        trial specifically identifying any discovery material that is intended to be
        offered into evidence, and each defendant shall do likewise not less than 30
        calendar days before trial. Any designation must identify the specific item
        of discovery intended to be offered into evidence by exhibit number, title of
        the document, and the specific page and sentence of the relevant
        information, along with a statement of relevance and basis for admission.
        Any objection to the introduction of any discovery material shall be filed not
        later than 20 calendar days before trial, or the objection will be deemed
        waived. This paragraph does not apply to discovery materials that will be
        used at trial solely for the purpose of cross-examination or impeachment.

VI.     Jury Trial & Voir Dire

        Counsel for all parties shall jointly file electronically any requested jury
        instructions, including all requested standard instructions, not less than
        ten calendar days before trial. The submission of proposed jury instructions
        shall include each requested jury instruction (regardless whether agreed or
        objected to) fully set forth on a separate page, with a citation in support of

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        the instruction set forth at the bottom of each requested instruction. The
        submission shall be organized as follows: First, the parties shall tender the
        agreed set of instructions (labeled “J-1,” “J-2,” etc.), including any special
        interrogatory verdict form. Second, the parties shall tender any of Plaintiff’s
        proposed instructions (labeled “P-1,” P-2,” etc.) to which a defendant objects.
        Third, the parties shall tender any defendant’s proposed instructions (to be
        labeled “D-1,” “D-2,” etc.) to which a plaintiff objects. Counsel shall also
        provide a copy of all requested jury instructions in Word format to chambers
        via email.

        An objecting party shall submit its memorandum in opposition to any jury
        instructions requested by the other side not more than three calendar days
        after filing of the requested jury instructions. The memorandum should not
        exceed ten (10) pages in length. The objecting party shall set forth the
        nature of the dispute, any authority on the issue, and any alternative
        instruction. The party proposing any requested instructions that are not
        agreed upon may submit a memorandum in support of the requested
        instructions not more than four calendar days after filing of the requested
        jury instructions.

        Any proposed jury voir dire to be requested by any party shall be filed at
        least seven calendar days before trial. The parties are encouraged to
        submit a statement that succinctly summarizes the position of each party,
        for use by the Court during voir dire.


VII.    Written Stipulations

        Not later than 30 calendar days before trial, counsel for each party shall
        meet and confer in a good faith effort to enter into written stipulations of
        undisputed facts. Written stipulations shall be signed by each counsel and
        filed with the Clerk not later than 25 calendar days before trial.

VIII.   Proposed Exhibits

        Each plaintiff shall file a list of proposed exhibits not less than 30 calendar
        days before trial and shall provide a copy of all proposed exhibits to all
        parties. Each defendant shall file a list of proposed exhibits and shall
        provide a copy of same to every party not less than 25 calendar days before
        trial. The plaintiff shall file a list of any rebuttal exhibits not less than 20
        days before trial. Any objection to any exhibit shall be noted by a motion
        that includes the subject exhibit(s), filed not later than 15 calendar days
        before trial. Any exhibit not listed and timely filed will not be admitted at
        trial unless used solely for impeachment or rebuttal purposes.

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        All exhibits will be presented by available electronic means at trial. Counsel
        must contact the Courtroom Deputy before trial if counsel is not sufficiently
        familiar with the courtroom electronic system to effectuate presentation at
        trial. In anticipation of trial, each party shall ensure that two sets of pre-
        marked, indexed copies of that party’s exhibits are submitted in binders to
        the Clerk at least three days before trial begins, for use by the Courtroom
        Deputy during trial proceedings and by the jury during its deliberations.

IX.     Deadlines

        Unless otherwise specified, any deadline established herein shall be
        governed by Fed. R. Civ. P. 6. For purposes of Fed. R. Civ. P. 6(d), all
        electronically filed documents shall be deemed electronically served
        regardless of additional service by any other means.

X.      Final Pretrial Conference

        A final pretrial conference will be held on October 12, 2023, at 11:00 a.m.,
        at the courthouse in Norfolk. Not later than seven days before the final
        pretrial conference, the parties shall jointly submit a proposed final pretrial
        order to the Court, endorsed by counsel and setting forth all resolved and
        disputed matters related to trial evidence issues. The proposed final
        pretrial order shall be broken down by the following sections: (1) Stipulated
        Facts; (2) Legal and Evidentiary Stipulations (including jurisdiction and
        venue); (3) List of Proposed Witnesses by Party; (4) Exhibits (including
        identification of those exhibits to which there is no objection); (5) Factual
        Contentions as set forth by each party; and (6) Triable Issues as set forth
        by each party.

XI.     Pretrial Briefs

        The parties are encouraged to file pretrial bench briefs on material issues
        expected to arise at trial. However, pretrial briefs may not substitute for
        motions in limine, because pretrial briefs do not seek a remedy. Instead,
        pretrial briefs serve as a vehicle for counsel to educate the Court about a
        potential trial issue. If counsel elects to file a pretrial brief, it must be
        filed not later than five calendar days before trial and should be no longer
        than 10 pages in length.

XII.    Courtroom Technology

        All exhibits will be presented by available electronic means during trial.
        The courtroom is equipped with a document viewer that displays evidence

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        on monitors located on counsel tables, on the bench, and in the jury box.
        The parties may also use personal laptop computers to aid in their
        presentation of evidence. The Court does not provide laptops. The
        Court advises the parties to visit the following webpage for
        more     information  on    the   Court’s    technological   capabilities:
        https://www.vaed.uscourts.gov/evidence-presentation-system.

        Any party wishing to use courtroom technology during a proceeding should
        submit a Request to Use the Court’s Evidence Presentation System form
        and confer with the Courtroom Deputy at least ten calendar days before the
        proceeding. The Court expects all parties using courtroom technology to
        conduct a test run before any proceeding.

        Any party wishing to bring personal electronic devices, including laptops
        and cell phones, to a proceeding should submit a Request for Authorization
        form to the Courtroom Deputy at least three business days before the
        proceeding. While in the courthouse, all devices should be turned off (not
        on silent or vibrate mode) unless in use for court-related matters.

XIII.   Attorneys’ Fees

        Any motion for an award of attorneys’ fees will be addressed after trial,
        pursuant to Fed. R. Civ. P. 54 and E.D. Va. Civ. R. 54 (if fees are treated as
        costs by statute or rule). Such motions shall be governed by applicable
        statutory and decisional law and must be accompanied by a brief. A party
        moving for attorneys’ fees must submit an affidavit or declaration itemizing
        time spent on the case and describing the work done and the hourly rate of
        the person billing the case. In addition, a movant must submit an affidavit
        or declaration from an expert establishing the reasonableness of the fees.




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XIV.     Communications with Chambers

         Ex parte communications with chambers are strongly discouraged and
         should be limited to scheduling questions and similar clerical matters. All
         other requests and communications should be made via filings on the public
         docket.
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         The Clerk is DIRECTED to send a copy of this Order to all counsel of record

and to any party not represented by counsel.

         IT IS SO ORDERED.

                                                              /s/
                                               Jamar K. Walker
                                               United States District Judge

Norfolk, Virginia
September 14, 2023




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